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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   John R Georgas,                               NO. CV-18-00382-PHX-JJT
10                  Plaintiff,
                                                  CLERK’S ENTRY OF DEFAULT
11   v.
12   James R Hladik, et al.,
13                  Defendants.
14
15            Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure and upon

16   application by the Plaintiff, default is hereby entered against Defendants James R.

17   Hladik, Gerald W. Trkula, and Daniel P. Ratkus.

18   DEFAULT ENTERED this 30th day of May, 2018.

19                                           Brian D. Karth
                                             District Court Executive/Clerk of Court
20
21   May 30, 2018
                                             s/ S. Quinones
22                                      By   Deputy Clerk
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